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                                UNITED STATES DISTRICT COURT
15                             CENTRAL DISTRICT OF CALIFORNIA
16                                   WESTERN DIVISION
17    KEAVENY DRUG, INC., individually           Case No. 2:24-cv-09379-SPG-SK
18    and on behalf of a class of those
      similarly situated,                        JOINT STIPULATION TO EXTEND
19                                               TIME TO RESPOND TO
                  Plaintiff,
20                                               PLAINTIFF’S COMPLAINT
21    v.

22    GOODRX, INC.; GOODRX                       Earliest Complaint Served: 11/05/2024
      HOLDINGS, INC.; CVS CAREMARK               Earliest Response Due: 11/26/2024
23    CORP.; EXPRESS SCRIPTS, INC.;              New Response Date: 01/10/2025
      MEDIMPACT HEALTHCARE
24    SYSTEMS, INC.; and NAVITUS
      HEALTH SOLUTIONS, LLC,                     Honorable Sherilyn Peace Garnett
25
                                                 United States District Judge
26                Defendants.
27
28
     STIPULATION FOR EXTENSION TO                          CASE NO. 2:24-CV-09379-SPG-SK
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1          IT IS HEREBY STIPULATED and AGREED by and among Keaveny Drug, Inc.
2    (“Plaintiff”) and GoodRx, Inc., GoodRx Holdings, Inc., CVS Caremark Corp., Express
3    Scripts, Inc., MedImpact Healthcare Systems, Inc., and Navitus Health Solutions, LLC
4    (collectively, “Defendants” and, together with Plaintiff, the “Parties”), by and through
5    their attorneys undersigned, pursuant to Federal Rule of Civil Procedure 6(b), that:
6          1.     Defendants’ time to answer, file a motion with respect to, or otherwise
7    respond to the Class Action Complaint filed by Plaintiff on October 30, 2024 [ECF No.
8    1] (the “Complaint”) is extended from the current deadline for each Defendant to respond
9    based on the date of service to Friday, January 10, 2025 (the “Extension Period”).
10         2.     Good cause exists for the agreed extension because three other actions
11   involving substantially similar defendants, making substantially similar allegations, and
12   asserting substantially similar causes of action have been filed in two federal district
13   courts (Community Care Pharmacy, LLC v. GoodRx, Inc., et al., Case No. 2:24-cv-09490
14   in the United States District Court for the Central District of California; Grey Dog IV
15   d/b/a/ Ethos Wellness/Pharmacy v. GoodRx, Inc. et al., Case No. 2:24-cv-09858 in the
16   United States District Court for the Central District of California; and Old Baltimore Pike
17   Apothecary, Inc., et al. v. GoodRx Holdings, Inc., et al., Case No. 1:24-cv-00453 in the
18   United States District Court for the District of Rhode Island), and the Parties agree that
19   the consolidation of these actions in one court of competent jurisdiction would promote
20   the just, efficient, and fair resolution of the actions and conserve the courts’ and the
21   Parties’ resources. Moreover, the allegations in these complaints are complex.
22         3.     IT IS FURTHER STIPULATED and AGREED that, during the Extension
23   Period, none of the Parties shall seek or be required to provide the disclosures or discovery
24   contemplated by Federal Rules of Civil Procedure 26, 30, 31, 33, 34, or 36.
25         4.     IT IS FURTHER STIPULATED and AGREED that this stipulation does not
26   constitute a waiver of any of the Parties’ claims, rights, or defenses, including but not
27   limited to the right to seek a further extension of GoodRx’s time to answer or otherwise
28
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1    respond to the Complaint or any other pleading filed by Plaintiff in the above-captioned
2    action.
3          5.     IT IS FURTHER STIPULATED and AGREED that, if Defendants answer,
4    move, or otherwise plead with respect to a complaint in a related case pending in any
5    district, Defendants will concurrently answer, move, or otherwise plead in response to the
6    Complaint.
7
8    Dated: November 25, 2024                        Respectfully submitted,
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     STIPULATION FOR EXTENSION TO             3            CASE NO. 2:24-CV-09379-SPG-SK
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18   Filer’s Attestation: Pursuant to Local Rule 5-4.3.4(a)(2)(i), David R. Singh hereby attests
19   that concurrence in the filing of this document and its contents was obtained from all
20   signatories listed above.

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     STIPULATION FOR EXTENSION TO                6            CASE NO. 2:24-CV-09379-SPG-SK
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